                UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )            NO. 2:03-CR-62
                                                )
GARY MUSICK                                     )


                          MEMORANDUM OPINION


      This matter came before the Court on February 28, 2005 for sentencing of

the defendant. The parties have filed extensive sentencing memoranda, all of

which have been read and considered by the Court.

            As a preliminary matter, there is pending a motion filed by the

government on February 1, 2005 asking the Court to reconsider certain rulings

it made relative to Mr. Musick’s criminal history and the application of the

career offender provisions of the guidelines to Mr. Musick’s case.

            In that ruling, this Court held that the defendant should not receive

two (2) criminal history points for his juvenile adjudication on May 6, 1998,

three (3) criminal history points for his conviction on November 17, 2000 for two

(2) counts of the delivery of schedule II drugs, two (2) points for being on

probation for his November 17, 2000 conviction and one (1) point for committing

the instant offense less than two years following the defendant’s release from

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custody for the sentence imposed for his November 17, 2000 conviction. Based

upon these findings the Court found that defendant’s total criminal history points

were four (4) based upon his two misdemeanor drug convictions on May 10,

2000 for offenses that occurred on February 21, 2000 and April 26, 2000 and

that his criminal history category was, therefore, III. Relying primarily upon

United States v Walker, 210 F. 3d 373, 2000 WL 353518, * 2-3 (6th Cir. (Mich.)), an

unpublished decision of the Sixth Circuit Court of Appeals, this Court concluded

that the evidence found during the January 31, 1998 search that led to Musick’s

1998 possession charge and the proof that Musick had plead guilty to the

distribution of cocaine in 2000 was “inextricably intertwined” with the

conspiracy and evidence related to those convictions had been admitted as acts

in furtherance of the conspiracy in question by this court during Mr. Musick’s

trial. The acts were, therefore, part of the instant offense within the meaning

of U.S.S.G. § 4A1.1

            Arguing that Walker has no precedential value and is limited strictly

to the facts of that case, the government suggests that the facts of this case are

more closely analogous to United States v Hughes, 924 F. 2d 1354 (6th Cir. 1991)

and United States v Woodley, 178 F. 3d 1297 (Table), 1999 WL 220121 (6th Cir.

(Tenn.)), another unpublished decision of the Sixth Circuit Court of Appeals.

            The government’s argument, however, misses a very important point.

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 Both Hughes and Woodley deal with the scope of prior convictions for

mandatory minimum purposes under 21 U.S.C. Section 841(b)(1)(A) and not

with the scope of prior convictions for criminal history computations under the

guidelines. § 841 provides for a mandatory minimum sentence if any person

commits a drug offense “[a]fter two or more prior convictions for a felony

drug offense have become final . . .” The issue before this Court is not

whether or not Mr. Musick has prior convictions such that a mandatory

minimum term of imprisonment is implicated but rather whether or not he has

prior convictions which are countable for criminal history points under § 4A1.1

of the sentencing guidelines. The term “prior sentence” under § 4A1.1 means

any sentence previously imposed for conduct not part of the instant offense,

language that is considerably more restrictive in terms of defining a prior

sentence than the language used in § 841(b)(1)(A).

            Having previously found that the events leading to the prior

convictions at issue were in fact part of the offense for which Mr. Musick was

on trial, as the government urged, rather than 404(b) type evidence, these acts

were conduct that was part of the instant offense and these offenses are not a

“prior sentence” for purposes of calculating the defendant’s criminal history

category.

            Accordingly, the government’s motion to reconsider this Court’s

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prior calculation of the defendant’s criminal history category is DENIED.

             The government likewise argues that Mr. Musick should be

classified as a career offender pursuant to the United States Sentencing

Guidelines § 4B1.1. This court previously concluded that such was not the

case because Mr. Musick’s juvenile adjudication, for offenses committed prior to

age 18, was neither classified as an adult conviction under the laws of the state

of Tennessee nor was Mr. Musick sentenced as an adult.

             The government cites to several Tennessee cases which permit the

use of a previous juvenile adjudication to enlarge a subsequent sentence for

conviction of a felony. Those cases, however, are not on point. Clearly, the

definition of prior felony conviction in § 4B1.2 excludes a conviction for an

offense committed prior to age 18 unless it is classified as an adult conviction

under the laws of the jurisdiction in which the defendant was convicted. The

government has offered no case that indicates that juvenile adjudications are

routinely classified as adult convictions under the laws of the State of

Tennessee.

             There is, perhaps, an even more fundamental reason why Mr.

Musick’s juvenile conviction does not count for purposes of determining

whether or not he is a career offender.       Having determined that the juvenile

adjudication is not counted under § 4A1.1 for criminal history purposes, it

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likewise could not be counted for career offender purposes pursuant to §

4B1.2(c) which provides that the predicate offenses must be counted separately

under the provisions of 4A1.1(a),(b) or (c) . Since the juvenile adjudication is

not counted pursuant to 4A1.1(a)(b) or (c) , it could not be considered for

career offender purposes.

            The government’s motion to reconsider with respect to the career

offender provisions applicable to this case is, likewise, DENIED.

            Now, turning to the appropriate sentence in this case, there are a

couple of other issues that the Court must address. As this Court indicated in its

January 21, 2005 order, calculating Mr. Musick’s guideline sentence based upon

his money laundering conviction would yield an advisory sentencing range of

151 to 188 months. Defendant objects to that calculation and argues that this

court cannot make independent findings of fact in order to increase the

defendant’s sentence beyond that authorized by the United States Sentencing

Guidelines based upon the jury’s verdict.

             The Court of Appeals has clearly rejected that position in its

decision in United States v Milan, --- F.3d ----, 2005 WL 309934, *3 (6th

Cir.(Tenn.)), decided on February 10, 2005. Although the court remanded the

defendant’s case for resentencing because he was sentenced at a time when the

guidelines were considered mandatory, the Sixth Circuit made it clear that

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when the district court determines his sentence anew, it will no longer be

constrained by the sentencing ranges prescribed by the guidelines but must

rather sentence to a term “within the statutory minimum and maximum” so long

as the sentence on the whole is reasonable.

            Since the applicable guideline sentence is one of the factors which

this court must consider in determining an appropriate sentence for Mr. Musick,

 the parties were requested to submit pleadings to the court calculating an

appropriate guideline range based upon drug quantities as those quantities would

have been calculated pre-Blakely/Booker.

            Interestingly, both parties have calculated an offense level of 34

with a sentencing range of 188 to 235 months based upon drug quantity.

While the defendant asserts that this level is arrived at by considering all of

the weights for which Mr. Musick was acquitted, such is not completely the

case.

            Based upon the testimony of George Duarte, corroborated by the

testimony of Eric Serna, this Court finds, by a preponderance of the evidence,

that the least amount of cocaine for which the defendant is responsible is 15

kilograms. Therefore, his base offense level would be 32 which would be

increased pursuant to U.S.S.G. § 2S1.1(b)(2)(B) by two levels, making a total

offense level of 34 which yields an advisory sentencing range of 188 to 235

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months. The Court notes that considering all of the amounts about which the

Court heard testimony at the trial would yield an even higher offense level.

            In determining a reasonable sentence for Mr. Musick, this Court is

now required, post Booker, to consider each of the factors set forth in Title 18

U.S.C. § 3553(a). That section directs the court to consider the following:

      1.    The nature and circumstances of the offense and the history and

            characteristics of the defendant;

      2.    The need for the sentence imposed –

            (A)   to reflect the seriousness of the offense, to promote respect

                  for the law, and to provide just punishment for the offense;

            (B)   to afford adequate deterrence to criminal conduct;

            (C)   to protect the public from further crimes of the defendant;

                  and

            (D)   to provide the defendant with needed educational or vocational

                  training, medical care or other correctional treatment in the

                  most effective manner;

      3.    The kinds of sentences available;

      4.    The kinds of sentence and the sentencing range established for

            the applicable category of offense committed by the applicable

            category of defendant as set forth in the Federal Sentencing

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            Guidelines;

      5.    Any pertinent policy statement issued by the Sentencing

            Commission;

      6.    The need to avoid unwarranted sentence disparities among

            defendants with similar records who have been found guilty of

            similar conduct; and

      7.    The need to provide restitution to any victims of the offense.



            With respect to the nature and circumstances of the offense, this

Court will simply note that drug trafficking and money laundering offenses are

serious offenses. Trafficking in illegal narcotics is a serious problem in our

society and both Congress and the public at large have clearly demanded that

those who commit these offenses be punished.

            When considering the history and circumstances of this defendant,

there are a number of factors that are substantial in the Court’s mind. The

defendant is a very young man, 24 years of age, who appears to have made a

decision early in life to use his talents, which appear to be fairly substantial,

for illegal and illicit purposes rather than for productive purposes.

            He likewise appears to be an individual who is not amenable to

rehabilitation and does not appear to have learned anything from his mistakes.

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He has sustained convictions for drug related activities on four prior occasions.

While the Court has determined that some of these convictions do not qualify

the defendant as a career offender, nor count toward his criminal history, they

nevertheless exhibit a total disregard on the part of this defendant for the law.

After his conviction for each of those offenses, the defendant had ample

opportunity to discontinue his involvement in unlawful drug activity. Despite the

fact that these prior convictions do not qualify the defendant as a career

offender, they are exactly the kind of repeat criminal behavior that Congress has

targeted in numerous statutes for imposition of a harsher penalty than would

otherwise be applicable. In addition, there was proof at trial that this defendant

has engaged openly in gambling activities which were clearly illegal under state

law.

            Nor can the Court ignore proof excluded at trial that the defendant

fashioned himself as a big time drug kingpin as evidenced by his apparent

fascination with Pablo Escobar and John Gotti as well as his statement to one

of the officers involved that “Big drug dealers go to trial.” The bathroom of

the defendant’s home can only be described, as the government has done, as a

shrine to Pablo Escobar. Not only that, the defendant had apparently been

cataloging all of the drug cases reported in the local news media and had been

tracking legislative developments throughout the United States regarding the

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drug laws.

             This Court also believes that this defendant purposely and

intentionally embroiled his mother in his illegal and illicit activities and used

her to help him promote his criminal activities. While the Court finds his

expressions of concern for his mother, made on his behalf on more than one

occasion by his attorney, to be laudable, the Court finds his actions to exhibit a

total lack of concern for the welfare of his mother who, the Court is convinced,

would not have otherwise been disposed to engage in the activities that led to

her conviction.

             The Court also finds it to be an important consideration in this case

to protect the public from further crimes committed by this defendant. As noted

earlier, he does not appear to be a person amenable to rehabilitation nor does

he appear to learn from past mistakes. Not only that, he has exhibited

throughout the pendency of this case a total lack of acceptance of responsibility

for his actions and has shown absolutely no remorse for his criminal activities

or the results and consequences thereof. Throughout various pretrial

proceedings, the trial of this case and post trial proceedings, the Court has

observed very carefully the demeanor of this defendant. The demeanor he

displayed was a smug, self-confident, even arrogant, attitude consistent with a

total lack of remorse. The defendant’s refusal to respond to any questions

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posed to him by the probation officer concerning alcohol or drug use or history

of treatment for substance abuse similarly reflects that attitude.

            As the Court has previously indicated, it is the Court’s view that the

Federal Sentencing Guidelines, although advisory and only one factor to be

considered among others, are entitled to significant weight in the sentencing

decision. As set forth above, at the very best, defendant’s conduct in this case

establishes an advisory guideline range of 188 to 235 months. In determining

a reasonable sentence for Mr. Musick in this case, the Court notes that Title

18 U.S.C. § 3553(a) requires only that the Court consider the factors set forth

in that section and does not address the weight to be given by the Court to

each of the factors set forth. That decision is discretionary with the Judge and

depends upon the facts and circumstances in the given case. Because the

United States Sentencing Commission has taken into account most of the factors

set forth in § 3553(a), the guideline range is entitled to significant weight. In

addition, the guidelines are the only objective guidelines available for district

judges to follow in attempting to fashion a sentence which will avoid

unwarranted sentencing disparities among defendants with similar records who

have been found guilty of similar conduct.

            Having considered all of the factors set forth in § 3553(a), and

after consideration of the various sentencing memoranda submitted by the

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parties in this case, it is the judgment of this Court that the defendant, Gary

Musick, should be committed to the custody of the Bureau of Prisons to be

imprisoned for a total term of 235 months as to counts 1, 3, 4 and 7, all

sentences to be served concurrently. The Court finds that this sentence reflects

the seriousness of the offense, promotes respect for the law, provides just

punishment for the offense, affords adequate deterrence to criminal conduct and

protects the public from further crimes of this defendant.

            ENTER:

                                                 s/J. RONNIE GREER
                                             UNITED STATES DISTRICT JUDGE




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